Case 8:17-cv-01596-PJM Document 116-1 Filed 05/18/18 Page 1 of 3




                      Exhibit 1
5/16/2018                                   Donald Trump speaks at Red, White and Blue Dinner in Linthicum - Capital Gazette
                      Case 8:17-cv-01596-PJM Document 116-1 Filed 05/18/18 Page 2 of 3


Trump discusses his presidential campaign at
Linthicum GOP dinner




Donald Trump, a Republican candidate for president, spoke about the recent unrest in Baltimore on Tuesday before the Maryland
Republican Party's 25 annual Red, White and Blue Dinner in Linthicium. (Kenneth K. Lam/Baltimore Sun)



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What did Donald Trump tell county Republicans?



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P           residential candidate Donald Trump took aim at Democrats in general and President Obama specifically
            at a GOP event in Linthicum Tuesday.

"The American dream is dead but I'm going to bring it back bigger and better than ever," Trump told the crowd
at the 25th annual Red, White and Blue Dinner


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5/16/2018                                   Donald Trump speaks at Red, White and Blue Dinner in Linthicum - Capital Gazette
                      Case 8:17-cv-01596-PJM Document 116-1 Filed 05/18/18 Page 3 of 3
The event — a fundraiser for the Maryland Republican Party — pulled in more money than many previous
dinners.

State party Executive Director Joe Cluster said he expected to take in about $100,000.

Trump, the second Republican presidential candidate to visit Maryland recently, was the highlight of the event.
U.S. Sen. Rand Paul of Kentucky visited Baltimore County earlier this month.

Over more than a half-hour, Trump quipped as he criticized the media and other politicians — although he said
Maryland Republicans were in their own class and were "fabulous." He also took jabs at Cher and Rosie
O'Donnell.

A recent New Hampshire poll had Trump second to Jeb Bush in the Republican presidential candidate pool.
"I'm second behind a Bush," Trump said. "I hate it."

As for Obama, "some people would say he is incompetent," Trump said. "I wouldn't ... eh, I would."

Trump's appearance at the dinner was definitely a boost for the Republican Party, Cluster said.

Having two Republican presidential candidates speak in Maryland within a month is proof of the state
Republican Party's ascendance, he said.

"Back when Gov. Larry Hogan ran for governor, I was the only full-time employee in the state Republican
party," Cluster said. "I have a real staff now."

Nathan Volke, Anne Arundel County Republican Central Committee chairman, said the visits by the
presidential candidates give further credibility to a party that has had to struggle in a state historically
dominated by Democrats.

"Just the fact that they were here speaks volumes in itself," Volke said. "We need to keep fighting the fight
because it is starting to show the results of your labors."

Republicans at the event showed their solidarity with Hogan, who announced Monday that he had been
diagnosed with aggressive non-Hodgkin's lymphoma. Signatures were collected in support of the governor, and
speakers, including Trump, wished him well.

"I've met your governor, I respect your governor, and he is going to beat this," Trump said. "Give him my
regards."

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